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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO.: 24-cv-61983-WPD

  CATHERINE KUEPPERS and KATHLEEN SUMMY,
  individually and on behalf of all others similarly situated,

                 Plaintiffs,

  v.

  ZUMBA FITNESS, LLC,

              Defendant.
  ____________________________________________/

   ORDER GRANTING DEFENDANT’S UNOPPOSED MOTION FOR EXTENSION OF
             TIME TO RESPOND TO PLAINTIFFS’ COMPLAINT

         THIS CAUSE came before the Court on Defendant, Zumba Fitness, LLC’s (“Zumba”)
  Motion for Extension of Time to Respond to Plaintiffs’, Catherine Kueppers and Kathleen Summy,
  Complaint (“Zumba’s Motion”) [DE 10]. The Court having reviewed the pertinent briefing and
  relevant legal authority, having been advised of the agreement of the parties, and being otherwise
  duly advised in the premises, it is hereby ORDERED AND ADJUDGED that:

         1. Zumba’s Motion [DE 10] is GRANTED. Zumba shall respond to Plaintiffs’ Complaint
             on or before January 13, 2025.
         2. Plaintiffs, pursuant to the agreement of the parties, shall file a response to any motion
             to dismiss filed by Zumba on or before February 26, 2025.

         DONE AND ORDERED in Chambers in Fort Lauderdale, Florida, this 23rd day of
  December 2024.
